CasGabe 2:24-01V-4S KEKE Doccument27 FilrdQPHg/eA2Pagpaqi 4 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No, 2:24-cv-01455-KKE

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Epi Ww, Lok

was received by me on (date) GQ /> | y
att et +

0 I personally served the summons on the individual at (place)

on (date) or

(7 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
ALI served the summons on (name of individual) R Ober W Mion ste , who Is
designated by law to accept service of process on behalf of fname of organization) EPik, In
on (date) G/2z | 74 ; Or
(I Ircturned the summons unexecuted because > or
™ Other (specify):
My fees are $ —_— for travel and $ GL. 3D for services, for a total of $ eee Yhap

I declare under penalty of perjury that this information is true.

Date 4/1! | Ls iL Klas, Ht Z220HS.

Server's signature

Hellas L. Ae | Process: Serve
Printed name and title

N4lo Oe Ize sh AB bovhl.y WAG G03

Server's address '

Additional information regarding attempted service, etc:
